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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                                                :
              v.                                :    Case No. 22-cr-007 (TSC)
                                                :
THOMAS UBERTO,                                  :
                                                :
        Defendant.                              :

             STATUS REPORT AND MOTION TO CONTINUE SENTENCING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits the following Status Report.       The government also

respectfully moves the Court to continue the Sentencing currently scheduled for December 12,

2022 to one of the below proposed dates. Defendant, through his counsel, Richard Willstatter,

does not oppose. In support of the Motion, the government represents:

   1. The defendant is before the Court charged in an information with: Entering and Remaining

       in a Restricted Building, in violation of Title 18, United States Code, § 1752(a)(1);

       Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18, United

       States Code, § 1752(a)(2); Disorderly Conduct in a Capitol Building, in violation of Title

       40, United States Code, § 5104(e)(2)(D); and Parading, Demonstrating, or Picketing in a

       Capitol Building, in violation of Title 40, United States Code, § 5104(e)(2)(G) (ECF No.

       6).

   2. On September 2, 2022, as part of a plea agreement, the defendant pled guilty to Parading,

       Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United States

       Code, § 5104(e)(2)(G) in satisfaction of the charges against him.
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      3. The Court set sentencing for December 12, 2022 at 10 am in person in Washington, D.C.

      4. Government counsel for this case will now be traveling from Texas on December 12, 2022.

         Further, government counsel is based in Plattsburgh, New York and has a second

         sentencing (United States v. McCormick, 21-cr-710-TSC) set for the week of December

         12, 2022 in person in Washington, D.C. before this Court. In an effort to avoid the conflict

         with counsel’s travel from Texas and to consolidate travel to the District of Columbia, the

         government seeks an adjournment of the sentencing in the Uberto matter from December

         12, 2022 to any of the following dates/times:

             a. Monday, December 19, 2022 at 10 am or 11 am;

             b. Tuesday, December 20, 2022 at 10 am or 11 am; or

             c. Friday, December 16, 2022 at 10 am or 11 am.

      5. Defense counsel advised they are available on those dates and times- though Monday,

         December 19, 2022 is preferred- and do not object to the rescheduling request.

      6. Therefore, the government requests the December 12, 2022 Sentencing be continued to

         one of the above dates/times.

      7. The defendant is out of custody.

      8. The defendant concurs with this request.


         Respectfully submitted,

         MATTHEW M. GRAVES
         United States Attorney

By:           /s/
         Douglas G. Collyer
         Assistant United States Attorney
         Capitol Riot Detailee

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